           Case 4:25-cv-00476-MWB                  Document 15-7
Roper v. Luzerne County, Not Reported in Fed. Supp. (2023)
                                                                           Filed 07/15/25          Page 1 of 8
2023 WL 2563082

                                                                also asserted state-law negligent hiring, training, supervision,
                    2023 WL 2563082                             and retention and intentional infliction of emotional distress
     Only the Westlaw citation is currently available.          claims, pursuant to 28 U.S.C. § 1367.
     United States District Court, M.D. Pennsylvania.
                                                                The matter has been referred to the undersigned United States
              Tamra ROPER, Plaintiff,                           magistrate judge on consent of the parties, pursuant to 28
                       v.                                       U.S.C. § 636(c) and Fed. R. Civ. P. 73. The defendants have
         LUZERNE COUNTY, et al., Defendants.                    filed a Rule 12(b)(6) motion to partially dismiss the complaint
                                                                for failure to state a claim upon which relief can be granted.
             CIVIL ACTION NO. 3:22-cv-00307                     (Doc. 17.) The motion is fully briefed and ripe for decision.
                            |                                   (Doc. 29; Doc. 32; Doc. 35.)
                  Signed March 17, 2023

Attorneys and Law Firms                                         I. BACKGROUND
                                                                Roper has been a correctional officer at LCCF since February
Robert J. Boyer, Law Office of Robert J. Boyer, Pittston, PA,   2008. Throughout that time period, she has maintained
for Plaintiff.                                                  satisfactory job performance. Throughout that same period,
                                                                Roper alleges that she has been subjected to a hostile
Brendan N. Fitzgerald, Jennifer Menichini, Joseph J. Joyce,
                                                                work environment due to open, severe, and pervasive
III, Lawrence J. Moran, Jr., Joyce, Carmody & Moran, P.C.,
                                                                incidents of sexual harassment and discrimination that altered
Pittston, PA, for Defendants.
                                                                the conditions of her employment there. She alleges that
                                                                managerial or supervisory employees repeatedly, openly,
                                                                and falsely stated during meetings with other managerial or
                    MEMORANDUM                                  supervisory employees that Roper was traveling to have sex
                                                                or “gangbangs” with strange men.
JOSEPH F. SAPORITO, JR., United States Magistrate Judge

 *1 This is a federal civil rights and employment               Specifically, Roper took a preplanned, five-day vacation to
discrimination action, brought by Tamra Roper, a correctional   Mexico in March 2020. While she was away on vacation,
officer employed at Luzerne County Correctional Facility        Roper alleges that, during a meeting with about twelve other,
(“LCCF”), against her employer, Luzerne County, and two of      unidentified county managerial or supervisory employees,
her supervisors at LCCF, Mark Rockovich and Sam Hyder.          defendant Rockovich allegedly announced that he was
At the time of events giving rise to this action, Rockovich     dealing with Roper “having sex with strange men.” During
was the “division head” of the Luzerne County Division of       that same meeting, defendant Hyder allegedly stated that
Correctional Services and warden of LCCF, and Hyder was         Roper was “banging 2 pool boys at once,” that he “wonder[ed]
deputy warden of LCCF.                                          how many Mexicans she if fucking,” and that she was
                                                                engaged in a “gangbang” by the pool. Roper alleges that
In her complaint, Roper alleges that, on multiple occasions     Rockovich made no effort to take any corrective action or to
and over a course of years, she has been subjected to           intervene during or after Hyder's comments.
workplace sexual harassment and a hostile work environment,
including offensive and demeaning statements personally          *2 A few days after her return, on March 26, 2020,
made by Rockovich and Roper to her co-workers and in            Rockovich allegedly informed Roper's immediate coworkers
the presence of other county managerial employees. Roper        that other coworkers had called the county human resources
claims that this conduct violated the Title VII of the Civil    department to allege that Roper had gone on vacation to “have
Rights Act of 1964 (“Title VII”), 42 U.S.C. § 2000e et seq.,    sex with strange men.”
and the Pennsylvania Human Relations Act (the “PHRA”),
43 P.S. § 951 et seq. She further claims that, because she      Roper alleges that other, male employees at LCCF took
was a municipal employee, this same conduct constituted         vacation around the same time, but no statements were made
a violation of her Fourteenth Amendment equal protection        about those male employees taking vacation to have sex with
rights, made actionable under 42 U.S.C. § 1983. She has         unknown individuals.



               © 2025 Thomson Reuters. No claim to original U.S. Government Works.                                           1
            Case 4:25-cv-00476-MWB                    Document 15-7
Roper v. Luzerne County, Not Reported in Fed. Supp. (2023)
                                                                               Filed 07/15/25           Page 2 of 8
2023 WL 2563082

Roper alleges that Luzerne County and LCCF policy prohibits         Banks v. Cty. of Allegheny, 568 F. Supp. 2d 579, 588–89 (W.D.
unlawful discrimination or harassment based upon sex, but           Pa. 2008).
it has failed to adhere to or enforce that policy. Roper
alleges that she filed a complaint of sexual harassment with
her employer, requesting an investigation, but the County           III. DISCUSSION
failed to take any corrective action. Roper alleges that she        The plaintiff has filed a five-count complaint in this action.
was never even interviewed about her complaint. Roper               All five counts are nominally brought against all three named
alleges that, notwithstanding its written polices, it is the        defendants. 1 In Count I, the plaintiff asserts claims of sexual
custom and practice of Luzerne County to allow violators of         harassment and hostile work environment, in violation of
sexual harassment policy to resign or retire instead of facing      Title VII. In Count II, she asserts parallel state-law claims of
discipline or investigation.                                        sexual harassment and hostile work environment under the
                                                                    PHRA. In Count III, she asserts a Fourteenth Amendment
As a result of this allegedly unlawful discrimination or            equal protection claim under 42 U.S.C. § 1983. In Count IV,
harassment, Roper alleges that she was required to pass             she asserts state-law tort claims for negligent hiring, training,
on overtime shifts, resulting in a loss of income, she              supervision, and retention. In Count V, she asserts a state-law
experienced stress and anxiety at work, and she experienced         tort claim for intentional infliction of emotional distress. For
embarrassment, humiliation, and insult as well. Roper alleges       relief, she seeks an unspecified award of compensatory and
that she also experienced psychological and emotional trauma        punitive damages, back pay and front pay, plus reasonable
as a result of the harassment, and she sought the care of a         attorney fees and costs incurred in this litigation.
psychologist.
                                                                     *3 The defendants have moved to partially dismiss the
                                                                    complaint. We address their arguments count-by-count below.
II. LEGAL STANDARD
Rule 12(b)(6) of the Federal Rules of Civil Procedure
authorizes a defendant to move to dismiss for “failure to state        A. Title VII Employment Discrimination Claims
a claim upon which relief can be granted.” Fed. R. Civ. P.          In Count I, the plaintiff asserts Title VII employment
12(b)(6). “Under Rule 12(b)(6), a motion to dismiss may             discrimination claims. The defendants have moved to dismiss
be granted only if, accepting all well-pleaded allegations in       this count to the extent it seeks recovery from the two
the complaint as true and viewing them in the light most            individual defendants, Rockovich and Hyder, and to the
favorable to the plaintiff, a court finds the plaintiff's claims    extent it seeks an award of punitive damages. They do not
lack facial plausibility.” Warren Gen. Hosp. v. Amgen Inc.,         otherwise seek dismissal of the plaintiff's Title VII claim
643 F.3d 77, 84 (3d Cir. 2011) (citing Bell Atlantic Corp.          against her employer, Luzerne County.
v. Twombly, 550 U.S. 544, 555–56 (2007)). In deciding the
motion, the Court may consider the facts alleged on the face        In her brief in opposition to the defendants’ motion to
of the complaint, as well as “documents incorporated into           dismiss, Roper has explicitly conceded these points. (See Pl.’s
the complaint by reference, and matters of which a court            Opposition Br. 3, 15, Doc. 32, at 7, 19.) The filing of a brief
may take judicial notice.” Tellabs, Inc. v. Makor Issues &          in opposition to a motion to dismiss that fails to respond to
Rights, Ltd., 551 U.S. 308, 322 (2007). Although the Court          a substantive argument to dismiss a particular claim results
must accept the fact allegations in the complaint as true,          in the waiver or abandonment of that claim. SeeDreibelbis v.
it is not compelled to accept “unsupported conclusions and          Scholton, 274 Fed. App'x 183, 185 (3d Cir. 2008) (affirming
unwarranted inferences, or a legal conclusion couched as a          district court's finding of waiver as to an argument where
factual allegation.” Morrow v. Balaski, 719 F.3d 160, 165 (3d       plaintiff had opportunity to address it in his opposition brief
Cir. 2013) (quoting Baraka v. McGreevey, 481 F.3d 187, 195          but failed to do so); Levy-Tatum v. Navient Solutions, Inc.,
(3d Cir. 2007)). Nor is it required to credit factual allegations   183 F. Supp. 3d 701, 712 (E.D. Pa. 2016) (collecting cases);
contradicted by indisputably authentic documents on which           D'Angio v. Borough of Nescopeck, 34 F. Supp. 2d 256, 265
the complaint relies or matters of public record of which we        (M.D. Pa. 1999) (finding claims waived where plaintiff failed
may take judicial notice. In re Washington Mut. Inc., 741           to address defendant's argument in his brief in opposition to a
Fed. App'x 88, 91 n.3 (3d Cir. 2018); Sourovelis v. City of         motion to dismiss); see alsoLM Gen. Ins. Co. v. LeBrun, 470
Philadelphia, 246 F. Supp. 3d 1058, 1075 (E.D. Pa. 2017);           F. Supp. 3d 440, 460 (E.D. Pa. 2020); Celestial Cmty. Dev.



                © 2025 Thomson Reuters. No claim to original U.S. Government Works.                                               2
            Case 4:25-cv-00476-MWB                   Document 15-7
Roper v. Luzerne County, Not Reported in Fed. Supp. (2023)
                                                                              Filed 07/15/25           Page 3 of 8
2023 WL 2563082

Corp. v. City of Philadelphia, 901 F. Supp. 2d 566, 578 (E.D.
Pa. 2012).
                                                                                        1. Punitive Damages

Accordingly, the plaintiff's Title VII employment                  The defendants have moved to dismiss this count to the extent
discrimination claim, set forth in Count I of the complaint,       it seeks an award of punitive damages against the County. As
will be dismissed to the extent it seeks to hold individual        the defendants note in their brief in support, municipalities are
defendants Rockovich and Hyder liable and to the extent it         immune from punitive damages awards under § 1983. SeeCity
seeks an award of punitive damages against the County. This        of Newport v. Fact Concerts, Inc., 453 U.S. 247, 271 (1981).
claim shall otherwise proceed, however, as against Luzerne
County.                                                            In her brief in opposition to the defendants’ motion to
                                                                   dismiss, Roper has explicitly conceded this point. (See Pl.’s
                                                                   Opposition Br. 15, Doc. 32, at 19.) Thus, she has waived or
   B. PHRA Employment Discrimination Claims
                                                                   abandoned any § 1983 claim for punitive damages against the
In Count II, the plaintiff asserts parallel state-law employment
                                                                   County. SeeDreibelbis, 274 Fed. App'x at 185; Levy-Tatum,
discrimination claims under the PHRA. Although the parallel
                                                                   183 F. Supp. 3d at 712; D'Angio, 34 F. Supp. 2d at 265; see
federal cause of action under Title VII does not permit
                                                                   alsoLeBrun, 470 F. Supp. 3d at 460; Celestial Cmty. Dev.
for individual liability, the PHRA permits an individual
                                                                   Corp., 901 F. Supp. 2d at 578.
supervisory employee to be held liable for his own direct acts
of discrimination or for his failure to take action to prevent
                                                                   Accordingly, the plaintiff's § 1983 equal protection claims,
further discrimination by an employee under his supervision.
                                                                   set forth in Count III of the complaint, will be dismissed to
SeeSlater v. Susquehanna Cnty., 613 F. Supp. 2d 653, 669–70
                                                                   the extent they seek an award of punitive damages from the
(M.D. Pa. 2009). Thus, the defendants have moved to dismiss
                                                                   County.
this count only to the extent it seeks an award of punitive
damages, which are not authorized under the PHRA.

In her brief in opposition to the defendants’ motion to                                2. Municipal Liability
dismiss, Roper has explicitly conceded this point. (See Pl.’s
Opposition Br. 15, Doc. 32, at 19.) Thus, she has waived           In this count, the plaintiff seeks to hold Luzerne County
or abandoned any claim for punitive damages under the              liable for the allegedly unconstitutional conduct of the
PHRA. SeeDreibelbis, 274 Fed. App'x at 185; Levy-Tatum,            individual defendants, county employees Rockovich and
183 F. Supp. 3d at 712; D'Angio, 34 F. Supp. 2d at 265; see        Hyder. 2 The plaintiff contends that the County has failed to
alsoLeBrun, 470 F. Supp. 3d at 460; Celestial Cmty. Dev.           develop and implement employment policies, practices, and
Corp., 901 F. Supp. 2d at 578.                                     procedures to prevent or correct unconstitutional workplace
                                                                   sex discrimination. The complaint also alleges that the County
Accordingly,      the    plaintiff's   PHRA       employment       also failed to adequately train and supervise its correctional
discrimination claims, set forth in Count II of the complaint,     staff with respect to sexual harassment and appropriate
will be dismissed to the extent they seek an award of punitive     workplace conduct.
damages. This claim shall otherwise proceed, however, as
against all three defendants.                                      “On its face, § 1983 makes liable ‘every person’ who deprives
                                                                   another of civil rights under color of state law.” Burns v.
                                                                   Reid, 500 U.S. 478, 497 (1991) (Scalia, J., concurring in
  C. § 1983 Fourteenth Amendment Equal Protection                  part and dissenting in part). In Monell v. Department of
  Claims                                                           Social Services, 436 U.S. 658 (1978), the Supreme Court of
 *4 In Count III, the plaintiff asserts § 1983 Fourteenth          the United States established that municipalities and other
Amendment equal protection claims. The defendants have             local governmental units are included among those “persons”
moved to dismiss this count for failure to state a claim           subject to liability under § 1983. Id. at 690. Luzerne County
on which relief can be granted with respect to all three           is such a municipality subject to liability as a “person” under
defendants, and to the extent it seeks an award of punitive        § 1983. Seeid. at 694; Mulholland v. Gov't Cty. of Berks, 706
damages from the County.                                           F.3d 227, 237 (3d Cir. 2013).




                © 2025 Thomson Reuters. No claim to original U.S. Government Works.                                              3
            Case 4:25-cv-00476-MWB                    Document 15-7
Roper v. Luzerne County, Not Reported in Fed. Supp. (2023)
                                                                               Filed 07/15/25           Page 4 of 8
2023 WL 2563082

But “[u]nder Monell, a municipality cannot be subjected to          Beyond these vague assertions that existing policies were
liability solely because injuries were inflicted by its agents      inadequate, seeGroman v. Twp. of Manalapan, 47 F.3d 628,
or employees.” Jiminez v. All American Rathskeller, Inc.,           637 (3d Cir. 1995) (finding vague assertions of policy
503 F.3d 247, 249 (3d Cir. 2007). Rather, a municipality            deficiencies insufficient to impose liability under Monell
can be liable under § 1983 only if the conduct alleged              and § 1983), the plaintiff points to no prior incidents from
to be unconstitutional either “implements or executes a             which we might reasonably infer that the County and its
policy statement, ordinance, regulation, or decision officially     governing officials had actual or constructive knowledge of
adopted and promulgated by that body's officers” or is              the purported policy deficiencies upon which the plaintiff's §
“visited pursuant to governmental ‘custom’ even though              1983Monell claims are premised. SeeConnick v. Thompson,
such a custom has not received formal approval through              563 U.S. 51, 62 (2011) (“A pattern of similar constitutional
the body's official decision-making channels.” Monell, 436          violations by untrained employees is ‘ordinarily necessary’ to
U.S. at 690–91. “[I]t is when execution of a government's           demonstrate deliberate indifference for purposes of failure to
policy or custom, whether made by its lawmakers or by               train.... Without notice that a course of training is deficient
those whose edicts or acts may fairly be said to represent          in a particular respect, decisionmakers can hardly be said
official policy, inflicts the injury that the government as an      to have deliberately chosen a training program that will
entity is responsible under § 1983.” Jiminez, 503 F.3d at           cause violations of constitutional rights.”); see alsoCity of
249. “A plaintiff must identify the challenged policy, attribute    Oklahoma City v. Tuttle, 471 U.S. 808, 823–24 (1985) (“[A]
it to the [municipality or corporation] itself, and show a          single incident of unconstitutional activity is not sufficient to
causal link between execution of the policy and the injury          impose liability under Monell, unless proof of the incident
suffered.” Losch v. Borough of Parkesburg, 736 F.2d 903,            includes proof that it was caused by existing, unconstitutional
910 (3d Cir. 1984). Alternatively, “[a] municipality may be         municipal policy, which policy can be attributed to a
held liable under § 1983 for failure to train, monitor, or          municipal policymaker.”); Brown v. City of Pittsburgh, 86
supervise, [but] only where the plaintiff can ‘identify a failure   F.3d 263, 292–93 (3d Cir. 2009) (recognizing that, where no
to provide specific training that has a causal nexus with           explicit policy is identified, “ ‘more proof than the single
their injuries and must demonstrate that the absence of that        incident will be necessary’ to establish a causal connection
specific training can reasonably be said to reflect a deliberate    between the incident and some municipal policy”).
indifference to whether the alleged constitutional deprivations
occurred.’ ” Watson v. Philadelphia Hous. Auth., 629 F. Supp.       The complaint attempts to identify three such prior incidents,
2d 481, 487 (E.D. Pa. 2009) (quoting Gilles v. Davis, 427           identifying three other lawsuits against the County that
F.3d 197, 207 n.7 (3d Cir. 2005)); see alsoNawuoh v. Venice         involved sex discrimination and harassment directed against
Ashby Cmty. Ctr., 802 F. Supp. 2d 633, 645 (E.D. Pa. 2011)          female correctional officers or staff at LCCF. (See Compl.
(“While municipal liability under § 1983 originally hinged          ¶ 35, Doc. 1, at 6.) These lawsuits include: (1) Beckley
on affirmative policies, or customs, modern jurisprudence has       v. Luzerne County Correctional Facility, Case No. 3:11-
extended it to a [municipality]’s failure to train, supervise and   cv-00315 (M.D. Pa. filed Feb. 15, 2011), which was settled
discipline its officers.”).                                         and dismissed on November 30, 2011; (2) Sweet v. Luzerne
                                                                    County Correctional Facility, Case No. 3:11-cv-00330 (M.D.
 *5 Here, the plaintiff does not rely on the affirmative            Pa. filed Feb. 18, 2011), which was settled and dismissed on
implementation or execution of a policy—indeed, her                 November 22, 2011; and (3) Karavitch v. Luzerne County,
complaint alleges that county policy “strictly prohibits”           Case No. 3:22-cv-00308 (M.D. Pa. filed Mar. 1, 2022), which
unlawful discrimination or harassment—but instead relies            was settled and dismissed on June 24, 2022.
on the County's alleged failure to adopt and implement
adequate policies to prevent workplace sex discrimination           The last of these three lawsuits, Karavitch, cannot be relied
or sexual harassment or to take effective corrective action         upon because it was filed on the same day as this action, two
when it occurs. The complaint further alleges that LCCF             years after the events giving rise to this action, which occurred
had a workplace culture that tolerated workplace sex                in March 2020.
discrimination and sexual harassment and discouraged
reporting of violations of the formal policies prohibiting such     The other two lawsuits, Beckley and Sweet, filed and
conduct.                                                            dismissed nearly a decade before events giving rise to this
                                                                    action, are likewise unhelpful to the plaintiff here. Both of



                © 2025 Thomson Reuters. No claim to original U.S. Government Works.                                               4
            Case 4:25-cv-00476-MWB                      Document 15-7
Roper v. Luzerne County, Not Reported in Fed. Supp. (2023)
                                                                             Filed 07/15/25          Page 5 of 8
2023 WL 2563082

these prior lawsuits were settled without any finding against      county municipal law, the Division of Correctional Services is
—or admission of liability by—the County with respect to           responsible for the operation of LCCF and related offices and
constitutionally inadequate policies, training, or discipline.     programs. See Luzerne Cnty. Admin. Code § 6.03 (amended
The mere filing of these two civil complaints is insufficient      Aug. 23, 2022), available at https://www.luzernecounty.org/
to support the imposition of municipal liability under Monell.     DocumentCenter/View/29781/Luzerne-County-
SeeLawson v. City of Philadelphia, Civil Action No. 17-4228,       Administrative-Code-August-23--2022. 4 That division is,
2020 WL 93941, at *4 & n.3 (E.D. Pa. Jan. 8, 2020). “To            in turn, headed by a division head, who also functions
impose liability on a municipality more information about          as the warden of LCCF. See id. This ordinance further
such lawsuits is required, such as whether they resulted in a      provides that the warden will be assisted by a deputy
finding that a constitutional violation occurred and whether       warden in overseeing LCCF. See id. But the ordinance
the municipality's response to the suits could demonstrate         does not confer upon the warden final policymaking
deliberate indifference to the risk of future constitutional       authority with respect to personnel policies at LCCF.
violations.” Pharaoh v. Dewees, Civil Action No. 14-3116,          See id. Instead, county municipal law explicitly provides
2016 WL 2593842, at *5 (E.D. Pa. May 4, 2016). Moreover,           that the county policymaker with final decision-making
by referencing the court's docket record for these two prior       authority over the personnel policies that govern LCCF
lawsuits, it is evident that, although both case involved claims   employees, including policies concerning sexual harassment,
of sexual harassment or hostile work environment under Title       is the county manager. See Luzerne Cnty. Pers. Code §
VII and the PHRA, neither complaint asserted a § 1983 claim        1004.01(A) (amended July 24, 2018) (providing that all
of unconstitutional discrimination. 3                              personnel policies are subject to approval by the county
                                                                   manager), available at https://www.luzernecounty.org/
 *6 Alternatively, the plaintiff argues in her brief that          DocumentCenter/View/13934/Personnel-Code-
the County can be held liable because Rockovich and                Amended-07-24-18l; id. § 1004.01(B) (providing that
Hyder are “final policymakers” for the County, and thus            personnel policies include policies covering sexual
their knowledge and acquiescence in discriminatory and             harassment). Thus, neither Rockovich nor Hyder is a “final
harassing conduct, or their own direct participation in such       policymaker” for Monell purposes.
conduct, can be attributed to the County, placing it on notice
of the allegedly unconstitutional conduct as it occurred.          Ultimately, the complaint suggests that the County should
The complaint's labeling of these defendants as “final             be held liable because the alleged sex discrimination or
policymakers,” however, is an unsupported legal conclusion,        sexual harassment directed at Roper over a period of days
which is not entitled to any deference on a motion to dismiss.     in March 2020 could have been prevented if the County
SeeMorrow, 719 F.3d at 165.                                        had simply implemented better policies. But policies are not
                                                                   deficient simply because they are not the best. SeeSerafin v.
As the Supreme Court of the United States has instructed,          City of Johnstown, 53 Fed. App'x 211, 215 (3d Cir. 2002)
                                                                   (“The fact that the City's policy was not the most effective
                                                                   policy possible, however, does not, without more, create an
             [t]he fact that a particular official                 unreasonable risk to detainees’ safety or demonstrate the
             —even a policymaking official—has                     City's indifference to such a risk, and there is no ‘more’
             discretion in the exercise of particular              here.”); see alsoKoreny v. Smith, Civil Action No. 17-371,
             functions does not, without more, give                2018 WL 1141513, at *16 (W.D. Pa. Mar. 2, 2018) (“An
             rise to municipal liability based on                  assertion that a constitutional injury could have been avoided
             an exercise of that discretion. The                   with more or better training is insufficient.”).
             official must also be responsible for
             establishing final government policy                   *7 Accordingly, the plaintiff's § 1983 equal protection
             respecting such activity before the                   claims, set forth in Count III of the complaint, will be
             municipality can be held liable.                      dismissed to the extent that they seek to impose Monell
                                                                   municipal liability on Luzerne County.


Pembaur v. City of Cincinnati, 475 U.S. 469, 481–83 (1986)
(emphasis added, citation and footnotes omitted). Under


                © 2025 Thomson Reuters. No claim to original U.S. Government Works.                                           5
            Case 4:25-cv-00476-MWB                   Document 15-7
Roper v. Luzerne County, Not Reported in Fed. Supp. (2023)
                                                                              Filed 07/15/25           Page 6 of 8
2023 WL 2563082


                                                                    *8 Accordingly, the plaintiff's § 1983 equal protection
                  3. Individual Defendants
                                                                   claims, set forth in Count III of the complaint, will be
In this count, the plaintiff seeks to hold the individual          dismissed to the extent that they seek to hold the individual
defendants, Rockovich and Hyder, liable for violation of her       defendants, Rockovich and Hyder, liable.
Fourteenth Amendment equal protection rights. She alleges
that Rockovich and Hyder sexually harassed her over a period
                                                                      D. State-Law Negligent Hiring, Training, Supervision,
of several days in March 2020. 5 She further alleges that             and Retention Claims
unspecified male employees who took vacation around that           In Count IV, the plaintiff asserts state-law negligent hiring,
same time were treated differently—that is, the defendants         training, supervision, and retention claims against all three
did not make similarly derogatory statements about those           defendants. The defendants seek dismissal of these claims on
unspecified male colleagues at the time. 6                         the merits and on the ground that the defendants are entitled to
                                                                   immunity under the Pennsylvania Political Subdivision Tort
To prevail on an equal protection claim, a plaintiff must          Claims Act (“PPSTCA”), 42 Pa. Cons. Stat. § 8541 et seq.
demonstrate that she was treated differently from persons
who are similarly situated, and that this discrimination was       The PPSTCA bars claims of negligent hiring, training,
purposeful or intentional rather than incidental. SeeCity of       supervision, and retention as against the county or its
Cleburne v. Cleburne Living Ctr., Inc., 473 U.S. 432, 439          employees. SeeHernandez v. York Cnty., 288 Fed. App'x 781,
(1985); Tillman v. Lebanon Cnty. Corr. Facility, 221 F.3d 410,     783 (3d Cir. 2008) (per curiam) (affirming district court
423–24 (3d Cir. 2000). Mere conclusory allegations will not        finding that county and warden were entitled to immunity
suffice. SeeBlanchard v. Gallick, 448 Fed. App'x 173, 176 (3d      from state-law negligent hiring, training, retention, and
Cir. 2011).                                                        supervision claims under the PPSTCA); L.H. v. Pittston Area
                                                                   Sch. Dist., 130 F. Supp. 3d 918, 930 (M.D. Pa. 2015) (finding
While Roper has alleged in conclusory fashion that she was         school district and superintendent immune from negligent
treated differently from unidentified male colleagues who          supervision, hiring, and training claims under PPSTCA);
went on vacation around the same time, she has failed to           Joyner v. Sch. Dist. of Philadelphia, 313 F. Supp. 2d 495, 504
articulate any facts whatsoever to support a plausible claim       (E.D. Pa. 2004) (“Negligent hiring, training and retention of
that she was indeed treated differently from similarly situated    an unfit supervisor is not one of the negligent acts for which
individuals. SeeD'Altilio v. Dover Twp., Civil Action No.          [sovereign] immunity is waived.”).
1:06-CV-1931, 2007 WL 2845073, at *8 (M.D. Pa. Sept.
26, 2007) (“Mere harassment based on protected-class status        In her brief in opposition, the plaintiff argues that the
without identification of similarly situated individuals outside   individual defendants, Rockovich and Hyder, are not entitled
the class will not support an equal protection violation.”). The   to immunity because their direct involvement in the allegedly
bald assertion that male employees were treated in a dissimilar    discriminatory or harassing conduct goes beyond negligence
manner, without more, does not provide the defendants with         to deliberate indifference or willful conduct. As this court has
the notice required to frame a responsive pleading to Roper's      previously observed, “the PPSTCA ... strips an employee of
equal protection claim. SeeYoung v. New Sewickley Twp., 160        immunity if he or she engages in conduct that is found to
Fed. App'x 263, 266 (3d Cir. 2005); see alsoD'Altilio, 2007        constitute ‘a crime, actual fraud or willful misconduct.’ ” M.S.
WL 2845073, at *8 (“[T]he plaintiff must allege ‘occasions         ex rel. Hall v. Susquehanna Twp. Sch. Dist., 43 F. Supp. 3d
or circumstances’ of differential treatment.”). “[E]ven if [the    412, 433 (M.D. Pa. 2014) (quoting 42 Pa. Cons. Stat. § 8550).
complaint] were deemed sufficient to suggest differential
treatment, it lacks any factual basis for an inference that        “Willful misconduct is synonymous with intentional tort.”
[she] was treated differently because of [her] gender.”            Id. But the plaintiff here has asserted a claim for negligent
Burnett v. Springfield Twp., Civil Action No. 13-1646,             hiring, training, supervision, and retention and, “by definition,
2014 WL 3109963, at *8 (E.D. Pa. July 8, 2014); see                negligent acts do not include acts or conduct which
alsoAshcroft v. Iqbal, 556 U.S. 662, 683 (2009) (upholding         constitutes a crime, actual fraud, actual malice[,] or willful
dismissal of complaint that “does not contain any factual          misconduct.” Id. The plaintiff's argument that the individual
allegation sufficient to plausibly suggest [the defendants’]       defendants acted with deliberate indifference is likewise
discriminatory state of mind”).                                    unavailing, because “deliberate indifference is a standard


                © 2025 Thomson Reuters. No claim to original U.S. Government Works.                                              6
            Case 4:25-cv-00476-MWB                      Document 15-7
Roper v. Luzerne County, Not Reported in Fed. Supp. (2023)
                                                                                 Filed 07/15/25           Page 7 of 8
2023 WL 2563082

which falls short of intent to cause harm and is not willful
                                                                      Accordingly, the plaintiff's state-law intentional infliction
misconduct abrogating immunity under the PPSTCA.”Id.
                                                                      of emotional distress claims, set forth in Count V of the
(internal quotation marks omitted).
                                                                      complaint, will be dismissed in their entirety.
Accordingly, the plaintiff's state-law negligent hiring,
training, supervision, and retention claims, set forth in Count          F. Leave to Amend
IV of the complaint, will be dismissed in their entirety.             The Third Circuit has instructed that if a civil rights complaint
                                                                      is vulnerable to dismissal for failure to state a claim, the
                                                                      district court must permit a curative amendment, unless
   E. State-Law Intentional Infliction of Emotional
                                                                      an amendment would be inequitable or futile. Grayson v.
   Distress Claims
In Count V, the plaintiff asserts state-law intentional infliction    Mayview State Hosp., 293 F.3d 103, 108 (3d Cir. 2002).
of emotional distress (“IIED”) claims against all three               This instruction applies equally to pro se plaintiffs and those
defendants. The defendants seek dismissal of these claims on          represented by counsel. Alston v. Parker, 363 F.3d 229, 235
the merits and on the ground that the defendants are entitled         (3d Cir. 2004). In this case, based on the facts alleged in the
                                                                      complaint, it is clear that any amendment would be futile with
to immunity under the PPSTCA. 7
                                                                      respect to the plaintiff's Title VII and state-law claims, but it
                                                                      is not clear that amendment would be futile with respect to
 *9 It is simply beyond cavil that, under the PPSTCA, the
                                                                      the plaintiff's § 1983 claims. Nor that it would be inequitable
County is entitled to immunity from claims of IIED, an
                                                                      to the defendants. Therefore, upon dismissal of the plaintiff's
intentional tort. SeeLakits v. York, 258 F. Supp. 2d 401, 405
                                                                      § 1983 equal protection claims, set forth in Count III of
(E.D. Pa. 2003) (“Courts have held that intentional torts
                                                                      the complaint, she will be granted leave to file an amended
constitute ‘willful misconduct’ under the Act, for which a
                                                                      complaint.
municipality cannot be held liable under the Tort Claims Act.
Courts have specifically found that municipalities are immune
from claims of ‘intentional infliction of emotional distress.’ ”)     IV. CONCLUSION
(citations omitted); see alsoSimpson v. Philadelphia Sheriff's        For the foregoing reasons, the defendants’ motion to dismiss
Office, 351 F. Supp. 3d 919, 926 (E.D. Pa. 2019); Dull v. W.          will be granted. The plaintiff's Title VII claim against Luzerne
Manchester Twp. Police Dep't, 604 F. Supp. 2d 739, 754 n.10           County and her PHRA claims against all three defendants
(M.D. Pa. 2009); Roskos v. Sugarloaf Twp., 295 F. Supp. 2d            will be permitted to proceed. All other claims, including the
480, 490–91 (M.D. Pa. 2003).                                          plaintiff's request for punitive damages under Title VII and the
                                                                      PHRA, will be dismissed. The plaintiff will be permitted to
As an intentional tort, PPSTCA immunity does not extend               attempt to cure any pleading deficiencies and file an amended
to IIED claims against municipal employees Rockovich                  complaint. If the plaintiff fails to timely file an amended
and Hyder. SeeM.S., 43 F. Supp. 3d at 433. But under                  complaint, however, the defendants will be directed to answer
Pennsylvania law, sexual harassment in the employment                 the original complaint and the case will proceed with that as
context typically only rises to the level of outrageousness           the operative pleading.
necessary to support an IIED claim when the employer has
engaged in both harassment and retaliation. SeeAndrews v.             An appropriate order follows.
City of Philadelphia, 895 F.2d 1469, 1487 (3d Cir. 1990); Doe
1 v. Shawnee Holding, Inc., Civil Action No. 3:21-cv-01037,
2022 WL 801503, at *3 (M.D. Pa. Mar. 15, 2022). No                    All Citations
retaliation is alleged in this case. Thus, the plaintiff has failed
                                                                      Not Reported in Fed. Supp., 2023 WL 2563082
to state plausible IIED claims against defendants Rockovich
and Hyder.




                © 2025 Thomson Reuters. No claim to original U.S. Government Works.                                                 7
          Case 4:25-cv-00476-MWB                Document 15-7
Roper v. Luzerne County, Not Reported in Fed. Supp. (2023)
                                                                        Filed 07/15/25          Page 8 of 8
2023 WL 2563082




                                                    Footnotes


1     The defendants do not seek dismissal on the basis of Roper's “group pleading” of facts and claims against
      the “defendants” generically. For the plaintiff's consideration in preparing any future amended complaint,
      however, we note that, at least with respect to § 1983 claims requiring plausible allegations of personal
      involvement, group pleadings against “defendants” generically are potentially subject to dismissal. See,
      e.g.,Simonton v. Ryland-Tanner, 836 Fed. App'x 81, 84 (3d Cir. 2020) (per curiam); Caristo v. Blairsville-
      Saltsburg Sch. Dist., 370 F. Supp. 3d 554, 569 n.21 (W.D. Pa. 2019) (“Group pleadings as to such matters
      will not suffice.”).

2     In asserting § 1983 equal protection claims against Rockovich and Hyder, the complaint does not specify
      whether these individual defendants are named in their official or personal capacities, and briefing has failed
      to clarify this issue any further. To the extent these § 1983 claims are brought against the individual defendants
      in their official capacities, such claims are dismissed as duplicative of the plaintiff's § 1983 claims against
      the County itself, addressed in this part of our opinion. Halchak v. Dorrance Twp. Bd. of Supervisors, –––
      F. Supp. 3d ––––, 2022 WL 17742270, at *11 n.18 (M.D. Pa. Dec. 16, 2022). To the extent these § 1983
      claims are brought against the individual defendants in their personal capacities, we address them separately
      below. See id.

3     A district court, of course, may properly take judicial notice of its own records. SeeFed. R. Evid. 201; Ernst
      v. Child & Youth Servs. of Chester Cty., 108 F.3d 486, 498–99 (3d Cir. 1997).

4     “Municipal ordinances that are available online via a municipality's website ... constitute public records and
      are subject to judicial notice.” Hena v. Vandegrift, ––– F. Supp. 3d ––––, 2020 WL 1158640, at *25 (W.D.
      Pa. Mar. 10, 2020).

5     Specifically, the complaint alleges one incident of harassment that occurred during a meeting attended by
      Rockovich and Hyder that took place sometime between March 18 and 23, 2020, while Roper was away on
      vacation, and a second incident that occurred when Rockovich spoke to her coworkers on March 26, 2020.

6     The plaintiff asserts traditional protected-class equal protection claims, based on gender. The defendants
      noted in their initial brief that an equal protection claim based on a “class of one” theory is not cognizable in
      the public employment context. See, e.g.,Adams v. Luzerne Cnty., 36 F. Supp. 3d 511, 519–20 (M.D. Pa.
      2014). The plaintiff did not respond to this statement in her opposition brief, and it is clear from the complaint
      and briefs that she does not also rely on a “class of one” theory.

7     The defendants also argue that the plaintiff's IIED claims are preempted by the Pennsylvania Workers
      Compensation Act. But we decline to consider this argument, which is deemed waived because it was raised
      for the first time in a reply brief. SeeHayes v. Silvers, Langsam & Weitzman, P.C., 441 F. Supp. 3d 62, 66
      n.4 (E.D. Pa. 2020); Penn Nat'l Ins. v. HNI Corp., 482 F. Supp. 2d 568, 603 n.7 (M.D. Pa. 2007).



End of Document                                          © 2025 Thomson Reuters. No claim to original U.S. Government Works.




             © 2025 Thomson Reuters. No claim to original U.S. Government Works.                                          8
